Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21   Entered 01/29/21 21:18:02   Page 1 of 16




                Exhibit B
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21                   Entered 01/29/21 21:18:02             Page 2 of 16




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 IN RE:                                                   §        CHAPTER 11
                                                          §
                                                          §
 NATIONAL RIFLE ASSOCIATION OF                            §        CASE NO. 21-30085-hdh11
 AMERICA and SEA GIRT LLC                                 §
                                                          §
           DEBTORS1                                       §        JOINTLY ADMINISTERED


   DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF APPLICATION FOR
     ENTRY OF AN ORDER PURSUANT TO, INTER ALIA, SECTION 327(e) OF THE
    BANKRUPTCY CODE AUTHORIZING AND APPROVING THE EMPLOYMENT
      AND RETENTION EFFECTIVE AS OF THE PETITION DATE OF BREWER,
                        ATTORNEYS & COUNSELORS
                AS SPECIAL COUNSEL FOR THE DEBTORS AND
                         DEBTORS IN POSSESSION

         I, Michael J. Collins, pursuant to 28 U.S.C. § 1746, state:

         1.       I am a partner at Brewer, Attorneys and Counselors (“BAC”). My office is

 located at 1717 Main Street, Suite 5900, Dallas, Texas 75201. I am an attorney duly licensed in

 and am a member in good standing of the bar for the State of Texas. There are no disciplinary

 proceedings against me in any jurisdiction. I submit this Declaration in support of the application

 (the “Application”) of the above-captioned Debtors for entry of an order pursuant to, among

 other things, section 327 of title 11 of the United States Code (the “Bankruptcy Code”), Rules

 2014(a) and 5002 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

 Rules 2014 and 2016 of the Local Bankruptcy Rules of the United States Bankruptcy Court for

 the Northern District of Texas (the “Local Bankruptcy Rules”), authorizing and approving the

 employment and retention of BAC as special litigation counsel for the Debtors with respect to

        1 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).
 The Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.



 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 1
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21                    Entered 01/29/21 21:18:02             Page 3 of 16




 certain matters during these chapter 11 Cases. Except as otherwise noted, I have personal

 knowledge of the matters set forth herein.

                                  II.      SERVICES TO BE RENDERED

         2.       The Debtors have requested that BAC continue2 to provide the following

 professional services in connection with the following matters (collectively, the “Specific

 Matters”):

         •       Advice and representation in the pending legal proceedings listed on Schedule 1
                 attached hereto, wherein BAC currently serves as the NRA’s litigation counsel (the
                 “BAC Pre-Petition Litigation”), along with any additional matters that arise out of
                 or relate to the BAC Pre-Petition Litigation;

         •       To the extent not encompassed within the BAC Pre-Petition Litigation, advice and
                 representation regarding the investigation of the NRA by the New York State
                 Office of the Attorney General (the “NYAG”) which preceded the NYAG State
                 Lawsuit (Schedule 1, Ref. No. 14) (such investigation, the “NYAG
                 Investigation”);

         •       To the extent not encompassed within the BAC Pre-Petition Litigation, advice and
                 representation with regard to the NRA’s potential claims against certain departed
                 executives, former counsel, and other former fiduciaries believed by the NRA to
                 have breached their duties to the NRA or committed other wrongful acts;

         •       To the extent not encompassed within the BAC Pre-Petition Litigation, advice and
                 representation regarding compliance with the laws and regulations governing
                 charitable and non-profit organizations;

         •       Advice and representation with regard to issues arising under state corporate law
                 that may affect or relate to Debtors’ reorganization including, but not limited to,
                 fiduciary duties and corporate forms;

         •       Advice and representation with regard to potential actions by state, federal, or
                 other authorities, including legislative committees, concerning matters discussed

         2
            To date, the BAC Pre-Petition Litigation has involved claims and defenses asserted by and against Debtor
 NRA and has not entailed claims by or against Debtor Sea Girt. However, to the extent that Sea Girt requires
 professional services in connection with any of the Specific Matters, BAC is prepared to render such services and
 has identified no conflicts that would preclude it from rendering such services. If BAC becomes aware of facts or
 circumstances giving rise to any potential conflict between the NRA and Sea Girt in any of the Specific Matters,
 BAC will endeavor to obtain conflict waiver(s) as appropriate. To the extent that a waiver is not obtained and is
 necessary for the contemplated representation, Sea Girt will be represented in any such matter by separate counsel.



 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 2
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21           Entered 01/29/21 21:18:02       Page 4 of 16




               and alleged in: (i) the United States Senate Committee on Finance Minority Staff
               Report, titled The NRA and Russia, released in September 2019; (ii) certain letter
               requests directed to the NRA by Democratic members of the House Ways and
               Means Committee, Senate Finance Committee, and House Judiciary Committee
               commencing in Spring 2019; and/or (iii) other government inquiries and
               investigations;

        •      Advice and representation regarding civil, administrative, and commercial aspects
               of affinity insurance, including, without limitation: (i) the NRA’s rights and
               obligations under that certain Consent Order between the NRA and the New York
               State Department of Financial Services (“DFS”) effective November 18, 2020 (the
               “DFS Consent Order”); and (ii) any additional matters which may arise from the
               affinity-insurance investigation conducted by DFS during the period from 2017 to
               2020 which preceded the DFS Consent Order (the “DFS Investigation”);

        •      Advice and representation regarding corporate insurance coverage and coverage
               for officers and directors;

        •      To the extent not encompassed within the BAC Pre-Petition Litigation, advice and
               representation regarding media coverage and media outreach, including claims and
               defenses related to publicity torts and confidentiality obligations and strategic
               public affairs and communications services; and

        •      Assistance to Debtors’ bankruptcy counsel, to facilitate the efficient handling of
               matters in these Cases that implicate BAC’s institutional knowledge and pre-
               petition work.


               III.    THE DEBTOR’S RETENTION OF BAC IS APPROPRIATE

        3.      As attested in the Declaration of Carolyn Meadows (the “Meadows Declaration”),

 the NRA first retained BAC in early 2018 after it received a warning from Eric Schneiderman,

 then the Attorney General of the State of New York, that his office faced political pressure to

 take action against the NRA in advance of the 2020 election.3 Thus, the NRA hired BAC to fend

 off the unconstitutional hostilities from the State of New York4 that have now materialized in the

 action captioned: People of the State of New York v. The National Rifle Association et al., Index


    3 See, e.g., Meadows Decl. ¶ 3.

    4 Meadows Decl. ¶ 7.



 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 3
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21           Entered 01/29/21 21:18:02       Page 5 of 16




 No. 451625/2020 (Sup. Ct. N.Y.) (Schedule 1, Ref. No. 14), which is one of the most significant

 matters comprising the BAC Pre-Petition Litigation.        Over the course of BAC’s ensuing

 attorney-client relationship with the NRA, BAC provided professional services and

 representation to the NRA in connection with all of the Specific Matters enumerated above,

 including the DFS Investigation, the NYAG Investigation, and legislative inquiries. BAC has

 also served, and continues to serve, as lead litigation counsel to the NRA in the BAC Pre-Petition

 Litigation.

         4.       As a result of its pre-petition representation of the NRA, BAC has acquired in-

 depth knowledge of the NRA’s finances, operations, corporate governance, and unique political

 and public relations considerations. Accordingly, BAC possesses the necessary background to

 provide professional services that may be required by the NRA in connection with the Specific

 Matters during these chapter 11 Cases. BAC is also well-situated to represent the NRA because

 BAC’s retention has been examined and approved by the Special Litigation Committee of

 independent directors that oversees the NRA’s prosecution and defense of key litigation

 matters.5 Over the course of 2018-2020, as BAC’s engagement expanded, the members of the

 Special Litigation Committee received detailed briefings regarding the firm’s docket.6        The

 committee conurs with the NRA’s General Counsel that the reservoir of knowledge accumulated

 by BAC could not be efficiently offloaded to, or replicated by, substitute counsel.7 The Special




    5 See id.

    6 See   id.



     See id.




 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 4
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21               Entered 01/29/21 21:18:02     Page 6 of 16




 Litigation Committee is familiar BAC’s budget and staffing, and “firmly and unanimously”           8


 recommends BAC’s retention in the best interest of Debtors’ estates.

         5.       BAC possesses expertise in insolvency-related litigation matters. I and other

 attorneys at BAC have (either while at BAC or other firms) served as counsel and special

 counsel to debtors, official creditors’ committees, and non-debtor affiliates in bankruptcy cases

 including, without limitation: Caesars Entertainment Operating Company, Inc.; Delta

 Airlines, Inc.; Lehman Brothers Holdings, Inc.; Oriental Trading Company, Inc.; NII Holdings,

 Inc.; and Quicksilver Resources, Inc.

                                  IV.     NO ADVERSE INTEREST

         6.       In connection with BAC’s proposed employment by Debtors, BAC undertook

 measures to identify conflicts or other relationships that might cause BAC to hold or represent an

 interest adverse to the Debtors or their estates with respect to the Specific Matters. Specifically,

 based on information obtained from Debtors and information already in BAC’s possession, BAC

 identified categories of individuals and entities against which to assess conflicts in this matter,

 including: Debtors’ affiliates; Debtors’ officers and directors; the bankruptcy judges comprising

 this Court; the Debtors’ lenders and major secured and unsecured creditors; the Debtors’ largest

 vendors and other material contract counterparties; the Debtors’ litigation counterparties; the

 Debtors’ insurance carriers; the Debtors’ regulators and taxing authorities; and, the Debtors’

 landlords and utility providers (all such parties, “Potential Parties in Interest”).          BAC

 representatives working under my supervision conducted a detailed search of BAC’s client

 database, and interviewed key BAC personnel, to assess the nature and scope of BAC’s

 association, if any, with the Potential Parties in Interest.

     8 Meadows   Decl. ¶ 7.



 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 5
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21          Entered 01/29/21 21:18:02      Page 7 of 16




        7.     To the best of my knowledge, after a reasonably diligent search, BAC has no

 connection with any Potential Parties in Interest, other than those persons that are current or

 former BAC clients listed on Schedule 2 hereto and as set forth below. A person is listed as

 having an “Open” matter on Schedule 2 if BAC has any open matters for such person and BAC

 professionals have recorded time on any such matter within the past two years. A person or

 entity is listed as having a “Closed” matter on Schedule 2 if BAC represented such person or

 entity or its known affiliate within the past two years based on recorded time charges or other

 records, but all matters for the relevant person or entity have been closed. In addition to the

 representations denoted on Schedule 2, BAC, in the course of its representation of the NRA in

 the DFS and NYAG Investigations, appeared alongside and represented certain individual, then-

 current employees, directors and officers of the NRA who were subpoenaed for depositions,

 interviews, or in-person testimony. Such representations were undertaken jointly with, and by

 reason of, BAC’s representation of the NRA in the same investigations. No current attorney-

 client relationship exists between BAC and any such individual.

        8.     In connection with certain matters, BAC represented Wayne LaPierre, the

 Executive Vice President of the NRA. Mr. La Pierre is now represented by P. Kent Correll.

        9.     Additionally, a BAC partner, William A. Brewer III, is related by marriage to an

 executive of Ackerman McQueen, Inc. (“Ackerman”), which is the NRA’s former vendor and a

 current litigation counterparty. In connection with the Ackerman Litigation (Schedule 1, Ref.

 No. 5), the United States District Court for the Northern District of Texas assessed this




 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 6
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21                 Entered 01/29/21 21:18:02            Page 8 of 16




 relationship and determined that it did not give rise to any conflict impeding BAC’s

 representation of the NRA in litigation adverse to Ackerman.9

        10.     In the event that BAC must become adverse to any party listed on Schedule 2,

 BAC will first endeavor to obtain applicable written conflict waiver(s) as appropriate. To the

 extent that a waiver does not exist or is not obtained and is necessary for the contemplated

 representation, the NRA will be represented in the relevant matter by separate counsel.

        11.     None of the clients listed on Schedule 2 individually represented more than 1% of

 BAC’s annual revenues for 2018, 2019, or 2020.

        12.     None of BAC’s attorneys are or were, within two years of the Petition Date, a

 director, officer, or employee of the Debtors.

        13.     From time to time, BAC has worked with or referred work to other professionals

 retained or that may be retained in these chapter 11 Cases, including P. Kent Correll, counsel to

 Wayne LaPierre, and William P. Davis, counsel to the Board of Directors of the NRA, and

 Patrick J. Neligan, Jr. and Neligan LLP, proposed counsel for the Debtors.

        14.     While BAC has undertaken, and continues to undertake, efforts to identify

 connections with the Debtors and other Potential Parties in Interest, it is possible that

 connections with some parties in interest have not yet been identified. Should BAC, through its

 continuing efforts, learn of any new connections of the nature discussed herein, BAC will so

 advise the Court.




    9 See National Rifle Association v. Ackerman McQueen, Inc., et al., case no. 3:19-cv-2074 (N.D. Tex.) at ECF
    No. 166.



 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 7
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21           Entered 01/29/21 21:18:02        Page 9 of 16




        15.     I do not believe that any of the representations or relationships recited above or

 listed in Schedule 2 would give rise to a finding that BAC represents or holds an interest adverse

 to the Debtors or their estates with respect to the services for which BAC would be retained.

        16.     Accordingly, to the best of my knowledge, BAC: (a) is not a creditor, equity

 security holder, or insider of the Debtors; (b) was not (nor were any of its attorneys), within two

 years before the date of the filing of the Debtors’ Chapter 11 petitions, a director, officer, or

 employee of Debtors; and (c) does not have an interest materially adverse to the interest of the

 Debtors’ estates or of any class of creditors.

        17.     BAC will review its client database periodically during the course of its

 engagement to ensure that no conflicts or other disqualifying circumstances exist or arise. If any

 new relevant facts or relationships are discovered or arise, BAC will use reasonable efforts to

 identify such further developments and will file promptly a supplemental declaration as required

 by Bankruptcy Rule 2014(a).

   V.      STATEMENT UNDER SECTIONS 329 AND 504 OF THE BANKRUPTCY CODE
              AND UNDER FEDERAL RULE OF BANKRUPTCY PROCEDURE 2016

        18.     In accordance with sections 329 and 504 of the Bankruptcy Code and Bankruptcy

 Rule 2016, I hereby state that neither I nor BAC has entered into any agreements, express or

 implied, with any other party in interest, including the Debtor, any creditor or investor of the

 Debtor, or any attorney for such party in interest in the NRA’s chapter 11 case, for the purpose of

 sharing or fixing fees or other compensation to be paid to any such party in interest or its

 attorneys for services rendered in connection therewith.

        19.       BAC intends to apply for compensation for professional services rendered on an

 hourly basis and reimbursement of certain expenses incurred in connection with the services

 rendered, subject to Court approval and in compliance with applicable provisions of the


 DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
 EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 8
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21             Entered 01/29/21 21:18:02          Page 10 of 16




  Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and other applicable

  procedures and orders of this Court. The hourly rates and corresponding rate structure BAC will

  use will be the same as the hourly rates and corresponding rate structure that BAC predominantly

  uses in other restructuring matters, as well as in non-restructuring matters, whether in court or

  otherwise, regardless of whether a fee application is required.

         20.     BAC’s hourly rates are set at a level designed to compensate BAC for the work of

  its professionals and to cover fixed and routine overhead expenses. Hourly rates vary with the

  experience and seniority of the individuals assigned. These hourly rates are subject to periodic

  adjustments to reflect economic and other conditions and are consistent with the rates charged

  elsewhere. A schedule of the range of BAC’s 2021 standard hourly rates is attached hereto as

  Schedule 3.

         21.     It is BAC’s policy to charge its clients in all areas of practice for identifiable, non-

  overhead expenses incurred in connection with the client’s case that would not have been

  incurred except for the representation of that particular client. It is also BAC’s policy to charge

  its clients only the amount actually incurred by BAC in connection with such items. Examples

  of such expenses include postage, overnight mail, courier delivery, transportation, overtime

  expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

         22.     To minimize the cost to its clients and allow matters to proceed through discovery

  and prepare for trials efficiently, for document review, issue tagging, and related tasks, BAC uses

  a BAC affiliate it believes to provide such services at cost effective prices as compared to

  available alternatives.




  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 9
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21           Entered 01/29/21 21:18:02        Page 11 of 16




         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

  and correct and that all statements I make in this declaration are based on my personal

  knowledge unless otherwise noted herein.




  Executed on January 29, 2021                     By: /s/ Michael J. Collins
                                                   Name: Michael J. Collins




  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 10
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21                   Entered 01/29/21 21:18:02   Page 12 of 16




                                                       SCHEDULE 1

                                      Pre-Petition Litigation Handled by BAC

                 Unless otherwise noted, matters are invoiced at BAC’s standard hourly rates.

  Ref.     Case Caption
  1.       The National Rifle Association v. Andrew Cuomo, Case No. 1:18-cv-566
           (N.D.N.Y. 2018)
  2.       The National Rifle Association v. Ackerman McQueen, Inc. et al., Case
           No. CL19001757 (Va. Cir. Ct. 2019)
  3.       The National Rifle Association v. Ackerman McQueen, Inc. et al., Case
           No. CL19002067 (Va. Cir. Ct. 2019)
  4.       David Dell’Aquilla v. The National Rifle Association et al., Case No. 3:19-cv-
           679 (M.D. Tenn. 2019)
  5.       The National Rifle Association v. Ackerman McQueen, Inc. et al., Case.
           No. 3:19-cv-2074 (N.D. Tex. 2019)
  6.       Under Wild Skies, Inc. v. National Rifle Association, Case No. 19-12530 (Va.
           Cir. Ct. 2019)
  7.       C. Cox Arbitration, CPR Case No. 1340018083 (2019)
  8.       People of the State of New York v. Ackerman McQueen, Inc. and The National
           Rifle Association, Index No. 451825/2019 (Sup. Ct., N.Y. Cnty. 2019)
  9.       The National Rifle Association et al. v. Mark R. Dycio et al., Case No. 2019-
           17571 (Va. Cir. Ct. 2019)
  10.      The National Rifle Association v. Andrew Cuomo, Case No. 1:20-cv-385
           (N.D.N.Y. 2020)10
  11.      The National Rifle Association v. Oliver North, Case No. 903843-20 (N.Y. Sup.
           Ct. 2019).11
  12.      The National Rifle Association v. JAMS, Inc. and Winston & Strawn, LLP, Case
           No. 2020 CA 003346 B (D.C. Sup. Ct. 2020)12
  13.      District of Columbia v. NRA Foundation, Inc. et al, Case No. 2020 CA 003454 B
           (D.C. Sup. 2020)
  14.      People of the State of New York v. The National Rifle Association et al., Index.
           No. 451625/2020 (Sup. Ct. N.Y.)
  15.      The National Rifle Association v. Letitia James, Case No. 1:20-cv-889
           (N.D.N.Y. 2020)
  16.      In re National Rifle Association Business Expenditures Litigation, MDL No.
           2979 (2020)


  10 Pro bono.

  11 Fee cap on professionals’ services of $75,000.

  12 Fee cap on professionals’ services of $100,000.




  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 1
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21        Entered 01/29/21 21:18:02      Page 13 of 16




  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 2
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21             Entered 01/29/21 21:18:02      Page 14 of 16




                                            SCHEDULE 2

                      Disclosures: Representations of Potential Parties in Interest

  Party Represented          Proceeding                                           Status
  Wayne LaPierre,            The National Rifle Association v. Ackerman           Closed
  Officer of Debtor          McQueen, Inc. et al., Case. No. 3:19-cv-2074
                             (N.D. Tex. 2019)

                             Mr. LaPierre is named as a defendant in a
                             counterclaim by Ackerman. BAC jointly
                             represented Mr. LaPierre alongside the NRA until
                             November 2020, when Mr. LaPierre substituted
                             his own counsel.
  Wayne LaPierre,            David Dell’Aquilla v. The National Rifle             Closed
  Officer of Debtor          Association et al., Case No. 3:19-cv-679 (M.D.
                             Tenn. 2019)

                             Mr. LaPierre was named as a co-defendant in a
                             putative class action lawsuit against the NRA by a
                             former donor. BAC jointly represented
                             Mr. LaPierre alongside the NRA until
                             September 2020, when claims against
                             Mr. LaPierre were dismissed.

  NRA Freedom Action         NYAG Investigation                                   Closed
  Foundation, Affiliate
  of Debtor                  BAC represented the NRA Freedom Action
                             Foundation (“NRA FAF”) in connection with a
                             response to a document subpoena in the NYAG
                             Investigation.
  NRA Political Victory      NYAG Investigation                                   Closed
  Fund, Affiliate of
  Debtor                     BAC was engaged to represent the NRA Political
                             Victory Fund (“NRA-PVF”) in connection with
                             any possible involvement in the NYAG
                             Investigation, but no subpoenas were served upon
                             NRA-PVF and no actions were commenced
                             against NRA-PVF.




  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 1
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21        Entered 01/29/21 21:18:02      Page 15 of 16




  Party Represented      Proceeding                                         Status
  The NRA Special        NYAG Investigation                                 Closed
  Contributions Fund
  d/b/a Whittington      BAC was engaged to represent the NRA Special
  Center, Affiliate of   Contributions Fund (“NRA-SCF”) in connection
  Debtor                 with any possible involvement in the NYAG
                         Investigation, but no subpoenas were served upon
                         NRA-SCF and no actions were commenced
                         against NRA-SCF.




  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 2
Case 21-30085-hdh11 Doc 84-2 Filed 01/29/21                    Entered 01/29/21 21:18:02            Page 16 of 16




                                                 SCHEDULE 3

                                    BAC Standard Hourly Billing Rates

  Professionals                                                                  2021 Hourly Rates1
  Founding Partner, William A. Brewer III                                         $1400
  Partner                                                                         $700-$900
  Associate                                                                       $275-$600
  Consultant/Analyst                                                              $250-$725
  Investigator                                                                    $250-$350
  Public Affairs                                                                  $375-$800




      1 BAC periodically adjusts its firmwide billing rates to reflect economic changes in the market in which it
  operates. While no such adjustment will be applied specifically to the Debtor alone, BAC anticipates that any such
  firmwide adjustment will also apply to the Debtor and will be reflected in the fee applications submitted to the
  Court.



  DECLARATION OF MICHAEL J. COLLINS IN SUPPORT OF THE APPLICATION AUTHORIZING THE RETENTION AND
  EMPLOYMENT OF BREWER, ATTORNEYS & COUNSELORS AS SPECIAL COUNSEL TO THE DEBTORS        PAGE 1
